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                                                                         2022 JUN - I PM ~: I 5

                                                                                                  )
                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA



                                                     Complaint for a Civil Case

                                                     Case No. _ _ _ _ _ _ _ __
(Write thefull name ofeachplaintiffwho isfiling
                                                     (to be filled in by the Clerk's Office)
this complaint. If the names of all the plaintfffs
                                                                     ~Yes □ No
cannot jit in the space above, please write "see
                                                     Jury Trial:
attached" in the space and attach an additional
                                                                     (check one)
page with the ji,l/ list of names.)




        ~     Aoae l( er M,,au(eia ;;, BB
(Write the full name of each defendant who is
being sued. lfthe names of all the defendants
cannot fit in the space above, please write "see
attached" in the space and attach an additional
page with the full list ofnames.)
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I.     The Parties to This Complaint

       A.    The Plaintiff(s)

             Provide the information below for each plaintiff named in the complaint. Attach
             additional pages if needed.

                    Name
                    Street Address
                    City and County
                    State and Zip Code
                    Telephone Number
       B.    The Defendant(s)

             Provide the information below for each defendant named in the complaint,
             whether the defendant is an individual, a government agency, an organization, or
             a corporation. For an individual defendant, include the person's job or title (if
             known). Attach additional pages if needed.

             Defendant No. 1
                    Name
                    Job or Title
                                           4bmJ...,, Jr.id,ri::1
                    (if known)
                    Street Address          ~ LD   '1Jimdrv        WUJf-
                    City and County         11 mIYllb:15.11.l ~ S. e_       a1. Lh. l
                    State and Zip Code       St    ~l     ~tL, l
                    Telephone Number        9. Jf 3 .. 3 ~ t, .. 3t> t> o
             Defendant No. 2
                   Name
                   Job or Title
                   (if known)
                                             &f!ffi:rl;l/114·
                                             /vfJLU i.Ufl                                  J
                    Street Address                                                       u       ,4
                   City and County
                   State and Zip Code
                   Telephone Number
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                                              P+~~~
            Defendant No. 3
                   Name



                                             2
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                        Job or Title
                        (if known)
                        Street Address
                        City and County
                        State and Zip Code
                       Telephone Number
                Defendant No. 4
                       Name
                       Job or Title
                       (if known)
                        Street Address
                       City and County
                       State and Zip Code
                       Telephone Number
II.     Basis for Jurisdiction

        Federal courts are courts of limited jurisdiction (limited power). Generally, only two
        types of cases can be heard in federal court: cases involving a federal question and cases
        involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising
        under the United States Constitution or federal laws or treaties is a federal question case.
        Under 28 U.S.C. § t 332, a case in which a citizen of one State sues a citizen of another
        State or nation and the amount at stake is more than $75,000 is a diversity of citizenship
        case. In a diversity of citizenship case, no defendant may be a citizen of the same State
        as any plaintiff.

        What is the basis for federal court jurisdiction? (check all that apply)

              ~ederal question                             □   Diversity of citizenship

       Fill out the paragraphs in this section that apply to this case.

       A.      If the Basis for Jurisdiction Is a Federal Question

               List the specific federal statutes, federal treaties, and/or provisions of the United
               States Constitution that are at issue in this case. .
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  B.    If the Basis for Jurisdiction Is Diversity of Citizenship

        1.     The Plaintiff(s)

               a.     If the plaintiff is an individual
                      The plaintiff, (name) _ _ _ _ _ _ _ _ _ _ , is a citizen of
                      the State of (name) _ _ _ _ _ _ _ _ __

               b.     If the plaintiff is a corporation

                      The plaintiff, (name) _ _ _ _ _ _ _ _ _ _ , is incorporated
                      under the laws of the State of (name) _ _ _ _ _ _ _ _ _ _.
                      and has its principal place of business in the State of (name)


              (Jfmore than one plaintiff is named in the complaint, attach an additional
              page providing the same information/or each additional plaintfff.)

        2.    The Defendant(s)

              a.      If the defendant is an individual
                      The defendant, (name) _ _ _ _ _ _ _ _ _ _, is a citizen of
                      the State of (name)                      Or is a citizen of
                      (foreign nation) _ _ _ _ _ _ _ _ __

              b.      If the defendant is a corporation
                      The defendant, (name) _ _ _ _ _ _ _ _ _ _, is
                      incorporated under the laws of the State of (name)
                      _ _ _ _ _ _ _ _ __, and has its principal place of
                      business in the State of (name)__________ Or is
                      incorporated under the laws of (foreign nation)
                      _ _ _ _ _ _ _ _ ___, and has its principal place of
                      business in (name)
                                            ----------
              (Jfmore than one defendant is named in the complaint, attach an
              additional page providing the same information for each additional
              defendant.)




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                3.       The Amount in Controversy

                        The amount in controversy-the amount the plaintiff claims the defendant
                        owes or the amount at stake-is more than $75,000, not counting interest
                        and costs of court, because (explain):
                         3                 ,   I   ,    I   I     e   'm.5            fdR._,             . 'S
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III.     Statement of Claim

        Write a short and plain statement of the claim. Do not make legal arguments. State as
        briefly as possible the facts showing that each plaintiff is entitled to the damages or other
        relief sought. State how each defendant was involved and what each defendant did that
        caused the plaintiff harm or violated the plaintiff's rights, including the dates and places
        of that involvement or conduct. If more than one claim is asserted, number each claim
        and write a short and plain statement of each claim in a separate paragraph. Attach
        additional pages if needed.




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IV.     Relief~                                            QJe.. me. GlAlci VJ()               Mj r,'jh+S
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        State briefly and precisely what damages or other relief the plaintiff asks the court to
        order. Do not make legal arguments. Include any basis for claiming that the wrongs
        alleged are continuing at the present time. Include the amounts of any actual damages
        claimed for the acts alleged and the basis for these amounts. Include any punitive or
        exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
        actual or punitive money damages.
                ,                                       Cvr\d                                       ,
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V.      Certification and Closing

        Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
        knowledge, information, and belief that this complaint: (I) is not being presented for an
        improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
        cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
        extending, modifying, or reversing existing law; (3) the factual contentions have
        evidentiary support or, if specifically so identified, will likely have evidentiary support
        after a reasonable opportunity for further investigation or discovery; and (4) the
        complaint otherwise complies with the requirements of Rule 11.

        A.     For Parties Without an Attorney

               I agree to provide the Clerk's Office with any changes to my address where case-
               related papers may be served. [ understand that my failure to keep a current
               address on file with the Clerk's Office may result in the dismissal of my case.
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                         . . ~J--...L..:__,,~
               Date o f s1gnmg:  -           022
                                              _.
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               Signature of Plaintiff




        B.     For Attorneys

               Date of signing: _ _ _ __. 20_.

               Signature of Attorney
               Printed Name of Attorney
               Bar Number
               Name of Law Firm
               Address
               Telephone Number
               E-mail Address




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